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 2   District of Arizona
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 6   Email: coleen.schoch@usdoj.gov
     Attorneys for Plaintiff
 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE DISTRICT OF ARIZONA
10
     United States of America,                                 CR-19-00898-PHX-DLR
11
                           Plaintiff,
12                                                               NOTICE OF
              vs.                                          ASSOCIATION OF COUNSEL
13
14   David Allen Harbour,
15                         Defendant.
16          NOTICE is hereby given, in accordance with Local Rule 1.7(a) of the Rules of
17   Practice for the U.S. District Court for the District of Arizona, that Assistant United States
18   Attorney Coleen Schoch is associated in the matter above for the United States.
19          Respectfully submitted this 1st day of October, 2020.
20                                                     MICHAEL BAILEY
                                                       United States Attorney
21                                                     District of Arizona
22
                                                       s/ Coleen Schoch
23                                                     COLEEN SCHOCH
                                                       Assistant U.S. Attorney
24
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 1                                CERTIFICATE OF SERVICE
 2          I hereby certify that on this 1st day of October, 2020, I electronically transmitted the
     attached document to the Clerk’s Office using the CM/ECF System for filing and
 3   transmittal of a Notice of Electronic Filing to the following CM/ECF registrant:
 4
     Alan Baskin,
 5   Attorney for Defendant
 6
 7    s/C. Abramo
     U.S. Attorney’s Office
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